 

'SV33580877~26963‘

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Potomac Place

RES|DENT OCCUPANCY AGREEMENT

(non-miiitary family housing)

TH|S DOCUMENT IS A L§§AL, QINDINQ AQB§§M§NZ AND SHOULD BE REV|EWED CAREFULLY FOR AN
EXPLANATlON OF ANY CLAUSE. CONSULT YOUR LEGAL COUNSEL. lNlTlAL EACH PARAGRAPH WHERE PROV|DED.

TH|S RES|DENT OCCUPANCY AGREEMENT (the "Agreement") is made as of M_a[§_h_;$_`_ZO_!§ by and between Meade

gmimtj_e_$_`_L_L§ (the "0wner") and Cgrlggn §§lyn§g (the "Resident"). ln consideration of the representations made by
Resident on his or her application, the independent promises and covenants of each to the other and the rent to be paid,
Owner rents to Resident and Resident rents from Owner the Home as defined below on the following terms, conditions, and

oovenants.

All matters relating to this Agreement will be managed by gorvias Magagement - Army, Ll_..g (the "Community Manager").
The Community Manager will serve as Owner's representative Payments under this agreement must be made payable to
Owner and delivered to Community Manager.

1. DEFlNED TERMS. The following terms used in this Agreement have the following meanings:

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Home. The residential dwelling unit located at 293§ gliv§ Court #F, Fort Meagel MD 20755, not including Common
Areas.

The lnstallation. Mg_e

Term. Begins on May 1, 2018 and ends on Agril 30l 2019.

Monthly Rent. Due on the flsz day of each month and equal to §1,§_3_9,00.

Late Charge. iii of the Monthly Rent. which will be payable by Resident and collectible by Owner as Additional Rent.
Bad Check Charge. §_L§._U payable by Resident and collectible by Owner as Additional Rent.

Additional Rent. All amounts in addition to the Monthly Rent which are specified in this Agreement as payable by
Resident and collectible by Owner as additional rent, including, but not limited to Late Charges, Bad Check Charges.
charges for damages to Home, lockout charges, any cost and expense incurred by Owner for attorney's fees or for
ming fees in litigation or otherwise in the enforcement of any provision of this Agreement against Resident.

Resident. ln addition to the above-named individua|, the members of his or her family listed below and collectively
referred to as "Resident" or "Occupants":

Spouse: NLA.
ls the spouse active military? §§
if Yes, last four digits of spouse's SSN;

Children's Name(s):

Other Dependent Adu|ts/Children:
Common Areas. Those areas and facilities that are part of the Development owned by Owner and used by or for the
benefit of Resident, Resident's guests, Occupants, agents and/or invitees, including, but not limited to, lawns, parking
lots, storage areas, recreational areas, laundry areas, access roads, furnace rooms, utility rooms, stairways, halls,
sidewalks, entrance and lobby areas, and elevators
Development. The Home, |and. and any and all Common Areas operated as an integral unit by the Owner at the
installation The Home is a part of the Development
Transfer Fee. if Resident, upon approval from Owner, elects to move to another home in the Development before the
end of the Term, Resident will be required to pay a Transfer Fee equal to the Monthly Rent.
Applicable Law. This Agreement will be governed by the laws of the State in which the Home is located, to the
maximum extent that the Applicable Law applies to leased premises and the courts of such State have jurisdiction over
the Home, as well as any applicable Federa| laws, any applicable military rules, regulations and/or guldelines, the RRG
(as defined below), all of which are hereby incorporated by reference.

2. ADVANCE PAYMENT. Before taking possession of the Home, Resident must pay Owner'

sees

Security Deposit: M_Q

Monthly Rent Payment: §1,83§.00

Other: $_Q_LQ

Pro-Rate Monthly Rent Payment due at or before the time of move~in: $_‘L.§_QO_._O_Q

TOtali §1,8§0.00

 

 

 

 

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3. PAYMENT OF RENT. Resident agrees to pay in advance the Monthly Rent for the Home in the amount set forth in Section
t on the first day of each and every month during the Termi The Monthly Rent is due, without deduction or demand, at the
Community Manager's office. Payment by personal check is a privilege accorded by the Owner at its sole discretion and
the Owner specifically reserves the right to demand payment by certified check or money order for any and all sums,
including Additional Rent, due under this Agreement Fuither, the Resident agrees that any sums received by the Owner or
Community Manager from Resident may be applied, at its sole discretion, in part or wholel to any obligation due under this
Agreement, despite contrary or conflicting directions, verbal or written. appearing with or on the payment made by the
Resident. Resident will make all Monthly Rent and Additional Rent payments in full. Any failures by Resident to pay all rent
when due will, at Owner's eiection, cause all Monthly Rent for the Term to be immediately due and payable. Payment or
receipt of a rental payment of less than the amount stated in this Agreement will be deemed to be nothing more than
partial payment on that month's account. Under no circumstances will Owner's acceptance of a partial payment forfeit
Owner's right to (i) collect the balance due on the account, (ii) send a notice of termination of this Agreement and/or
commence an eviction or other proceedings for a non-payment of Monthly Rent or Additional Rent, despite any
endorsement stipulation, or other statement on any check or payment.

4, DEL|NQUENT PAYMENTS; BAD CHECKS. if the Owner fails to receive Resident's Monthly Rent payment on or before
the close of business on the fifth day of the month in which it is due, a Late Charge in the amount set forth in Section 1 will
be paid by Resident and collectible by Owner as Additional Rent for each month the Monthly Rent payment is overdue,
and the entire amount of Monthly Rent for the remainder of the Term may. at Owner's option, thereupon become
immediately due and payable. in the event Resident offers a check for payment of Monthly Rent, Additional Rent or any
other sum due to Owner which is returned to Owner for any reason other than bank error (and the bank provides Owner
written notice of such error), a Bad Check Charge in the amount set forth in Section 1 will be paid by Resident and
collectible by Owner as Additional Rent.

5. SECURITY DEPOSiT. Resident will deposit with Owner a security deposit in the amount stated in Section 2. The security
deposit will bear simple interest as required by Applicab|e Law. Owner will hold the security deposit not more than forty-five
(45) days after Resident vacates the Home. Owner may deduct from the security deposit any amounts which arise or are
incurred by it as result of Resident's breach of this Agreement and which will include, but are not limited to, the following: (i)
any unpaid Monthly Rent, Late Charges, Lockout Charges, Additional Rent, Bad Check Charges; (ii) any fees paid or to be
paid to any attorney(s) because of Resident's breach of this Agreement; (iii) any court costs paid or to be paid in the
enforcement of this Agreement; (iv) the cost of any repairs, replacements redecorating and/or refurnishing of the Home or
any fixtures, systems or appliances serving the Development not caused by ordinary wear and tear; (v) any vacancy loss
caused by Resident's failure to take possession of the Home after Resident has been approved as a resident. and (vi) all
other costs and expenses, including re-renting, incurred by Owner. The security deposit does not represent an agreement
of any type with respect to liquidated damages and the Owner specincaily reserves the right to seek and to collect any and
ali additional damages to which it may be entitied. The security deposit may not be used at the election of the Resident
toward any payment of Monthly Rent, Additional Rent or early termination fees.

6. PCSSESSlON. Resident may take possession of the Home after 8:00 a.m. on the first day of the Term specified in Section
1. ln the event Owner cannot deliver possession on that date, Owner agrees to the abatement of Monthly Rent for the
period of time from the first clay of the Term until the date it offers Resident possession of the Home, or a comparable
dwelling unit. in the event possession cannot be delivered to Resident as a result of a previous resident holding over after
the end of his or her term, Owner may join Resident as a party to any cause of action to effect the eviction of such previous
resident. Owner will not be liable to Resident for any damages or expenses as a result of the previous resident wrongfully
holding over after his or her full term. in the event Resident is unable to take possession on the first day of the Term
because of a reason attributed to Owner or to a previous resident holding overl Resident may, upon written notice, prior to
delivery of possession of the Home, terminate this Agreement

7. COND|T|ONS AND ACCEPTANCE OF HOME. The Home will be reasonably safe for habitation when delivered to
Resident, and the taking of possession by the Resident will be conclusive proof that the Home was in such a condition.
and that no other promise by Owner to Resident with respect to the Home, other than as contained in this Agreement
remains unfulilied.

8. |NSPECTlONS AT COMMENCEMENT AND TERM|NAT|ON OF OCCUPANCY. The resident and Owner agree that, prior
to beginning occupancy of the Home, they will conduct a joint examination of the Home. This examination will be
conducted and recorded in accordance with the RRG (as defined below). lt will be the responsibility of the Resident to
request an exit walk through inspection of the Home with Owner prior to move-out. The walk through inspection must be
requested in writing a minimum of five (5) days before the Resident ends occupancy of the Home. Using the record of the
pre-occupancy inspection, Owner will itemize any damages or deficiencies in the condition of the Home that exceeded
normal wear and tear, and such damages will be the responsibility of the Resident

 

9. UT|L|T|ES. As part of the Monthly Rent, the Owner will provide Wa er S wer Tra h/Rec lin E ctri at r |
§§. Resident agrees not to waste the Utilities provided by the Owner and to comply with any applicable law, regulation or

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guidelines of any governmental authority for the regulation and conservation of utilities or fuels. Resident acknowledges
that the Owner cannot be responsible for any interruption or reduction of utility service resulting from Owner's compliance
with any law, regulation, guideline or voluntary program for the conservation of energy. Further, Resident agrees that the
Owner will not be liable in any manner for the failure to provide or for the interruption of, or for the stoppage of. any utility or
for the failure of any mechanical equipment unless it is the result of the Owner's negligent act or omission, which is not
corrected repaired or cured in a reasonable period of time. The Owner is not to be constructed as an agent, associate or
partner of any utility provider or supplier,

Resident is responsible for Te|eghgn§ (|ocal and long distancei, Cable TV (ba§ic and expandeg), §ateliite Servicel
and internat Service thigh speed and dial up). and any other services directly contracted by Resident with a service

provider

Notwithstanding the forgoing, the installation-wide implementation of the Army‘s Energy Conservation Program requires.
without further notice, Resident to be responsible for the payment of either some or all utilities servicing the Home,
including the payment for all electric or gas consumption (at the prevailing utility rates) in excess of the established
"baseline" consumption for the Home, which fluctuates monthly. The methodology for calculation of the "baseline" usage
consumption for the Home will be provided to Resident upon request The Rent will continue to cover Resident's electricity
and natural gas costs up to a certain baseline amount established each month for the Home. Whether the amount of
Resident's utility usage falls above or below the monthly baseline will determine whether Resident: a) receives money back
as a rebate; b) must supplement his or her energy costs by making payment to the third party monitor; or c) do nothing.

Resident agrees that Monthly Rent is subject to increase during the term of this Agreement for increases iri utility rates and
heating fuel charges The Monthly Rent is based in part on utility rates and charges and heating fuel charges in the event
the costs of any of these items are increased over the amounts allocated for their payment or capital improvements are
made to the Development upon thirty (30) days' advance written notice of such increase, the Monthly Rent Payment due
thereafter will be proportionately increased through the remainder of the Term. lf the Monthly Rent is increased by more
than five percent (5%) above the then current Monthly Rent. Resident may elect to terminate this Agreement and vacate
the Home prior to the effective date of the increase by providing Owner written notice of such election within fifteen (15)
days after Resident's receipt of the notice of increase

USE AND OCCUPANCY. During the Term of this Agreement. the Home will be occupied only by the Resident and those
persons listed in Section t as a private residential dwelling. Any additional occupants over the age of 18 must be vetted
through the installation and then added to this Agreement as authorized occupants Regular continued base access will be
restricted to only those that have been approved by the installation.

Occupancy of the Home will be in an orderly manner and in compliance with all local, state and federal laws and
regulations and the rules and regulations adopted and issued from time to time by the Owner and/or Community Manager
relating to the Development for the mutual benetit. comfort and enjoyment of the residents and the protection of their, and
Owner‘s, property.

Resident is responsible for the conduct of ali Occupants and guests. All Occupants and guests must comply with the terms
of this Agreement. the Owner's Resident Responsibility Guide (the "RRG") and any applicable Army or installation rules
and regulations each of which are incorporated as part of this Agreement by reference By signing this Agreement.
Resident acknowledges receipt of the RRG and agrees to comply with all rules and regulations contained in the RRG.
whether now in effect or subsequently issued by Owner or Community Manager. Vio|ation of the RRG may be considered
a violation of this Agreement. Should the Resident, any Occupants or guests fail to comply with any of the terms of this
Agreement, installation rules and regulations, and/or the RRG, then the Resident and/or Occupants may be evicted from
the Home.

USE AND QUiET ENJOYMENT: Resident, all Occupants and guests will enjoy the use of the Home in a manner that does
not disturb the quiet enjoyment of other residents or create a public nuisance.

Resident will not permit anyone with respect to whom he or she has responsibilityl control or influence, to loiter in the
Development or to play in any area of the Development except that portion of the Common Areas specifically equipped as
play areas. Owner retains the right to designate or restrict uses permitted in Common Areas. Resident agrees that any
right to him or her to occupy the Home is conditioned upon Resident, Occupants, guests and anyone in the Development
because of Resident, complying with ali local, state and federal laws and all rules and regulations contained or referenced
herein, inciuding, but not limited to, the RRG. Specificaily. the Owner reserves the right to terminate this Agreement for any
violation of the above conditions Further, Resident hereby acknowledges that visits by police to the Home for improper
behavior of the Resident, Occupants, guests, or anyone on or about the Development because of the Resident (including
family members friendsl guests visitors, reiatives, associates, and acquaintances), will constitute proper and sufficient
grounds for termination of this Agreement by the Ownerv

GUESTS. Guests of the Resident or Occupants may not occupy the Home for more than 30 days in a calendar year

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without the written approval of the Community Manager.

RES|DENT'S EMPLOYER/lNFORMATlON. Resident warrants and represents the he or she is employed by the United
States government Resident agrees to inform Owner. in writing, of ali changes in Resident's work address and phone
number. Resident will immediately notify Owner in writing in the event Resident is no longer employed by the United States
government Resident further acknowledges that if Resident ceases to be employed by the United States government it
will constitute proper and sufhcient grounds for termination of this Agreement by the Owner. in addition, Resident is
required to provide Community Manager with an updated Leave and Earning Statement (LES), or other satisfactory
evidence, that Resident is still employed with the United States government before this Agreement may be renewed

DAMAGES, REPA|RS TO HOME, NOTiCE OF REPA|RS, lNSURANCE. Resident will be responsible for all damages and
repairs necessary to repair the Home, its fixtures, mechanical systems, plumbing and appliances whenever they have
been damaged by the misuse or negligence of Resident, Occupants, guests or any person on or about the Home or
Development because of Resident, Resident agrees to pay the costs of those repairs and damages as Additional Rent. At
the end of the Term. Resident will return the Home in as good of order as when Resident took possession, except for
ordinary wear and tear.

Light bulb replacement will be the responsibility of the Resident.

Resident will give Owner prompt notice of any needed repairs, apparent defects in. or damages to, the Home and its
plumbing. electrical wiring, roofl structural walls. heating and air conditioning equipment or any other part of the building in
which the Home is located, including all Common Areas of the Development. Owner agrees to maintain and repair with
due diligence the Home and Common Areas upon notice by the Resident as provided above. Notwithstanding the forgoing,
Resident will be responsible for the costs of said maintenance and/or repairs in accordance with this Agreement.

RESIDENT ACKNOWLEDGES THAT OWNER IS NOT AN lNSURER OF RESIDENT'S OR GUEST’S PERSONAL
PROPERTY. During the Term of this Agreement. Owner may require Resident to obtain a renter's insurance policy, at
Resident's sole cost and expense Owner will provide Resident with thirty (30) days‘ advance written notice if Resident is
required to obtain such insurance if Owner provides Resident notice that he/she is required to obtain a renter's insurance
policy, Resident will do so within the timeframe specified in the notice and will continue to maintain such coverage for as
long as Resident or the Occupants occupy the Home. RES/DENT IS URGED TO OBTAIN lNSURANCE COVERING THE
HOME AND HlS OR HER PERSONAL PROPERTY.

SUBLEAS|NG. Resident may not sublet, transfer or assign this Agreement or permit any part of the Home to be used by
any person other than those listed in Section 1.

PETS: Resident will be required to sign a Pet Addendum prior to having any pets in the Home. Resident will adhere to all
Department of the Army Pet Policies, the RRG and the Pet Addendum at all times.

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Tenant lntials: -°=‘_“1’-
ALTERAT|ONS; RETURN OF HOME. Except as provided by law, Resident may not make repairs or any interior or

exterior alterations of the Home without Owner's prior written consent. Resident must notify Owner in writing of any repairs,
decorations or alterations contemplated, inciuding, but not limited to, painting and wallpapering.

Owner and Community Manager are committed to the principles of fair housing. in accordance with fair housing laws,
owner or Community Manager will make reasonable accommodations to their ruies, policies, practices or services and/or
will allow reasonable modihcations under such laws to give persons with disabilities access to and use of the Home. ln the
event that Resident requests any such accommodation/modification, Resident will be required to sign an addendum to this
Agreement regarding the approval and implementation of such accommodations or modifications as well as restoration
obligations, if any. Resident will hold Owner and Community Manager harmless and indemnify them as to any mechanics
lien recordation or proceeding caused by repairs or alteration actions undertaken by or at the request of Resident,

COMMON AND RECREAT|ONAL FAC|L|T|ES. Any common facilities provided by Owner for Resident use (such as
laundry facilities, if applicable) will not be misused or abused by Resident or anyone on or about the Development because
of Resident Owner reserves the right to change or eliminate any such facilities or to restrict use or access thereto
Resident will be responsible for any damage to any such facilities/appliances caused by him or her or anyone on or about
the Development because of Resident

Resident may use the recreational facilities in the Development at no cost only as Owner directs for the common safety
and convenience of ali its residents Owner may discontinue providing these facilities or limit or restrict their use at any
time without liability. Resident expressly acknowledges that use of such facilities is at Resident's own risk and/or the risk of
any person on or about the Development because of Resident.

KEYS AND LOCKS; SHOW|NG OF HOME; ACCESS. in order to facilitate its response to emergencies and fire, police
and health matters, Owner retains passkeys to ali locks on doors in the Development. Owner will grant access to fire.

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police and health officials when required Owner will have the right during the last sixty (60) days of the Term to Show the
Home to prospective residents upon reasonable notice and at reasonable hours including weekends

Resident hereby acknowledges receipt of 3 key(s) and g garage door opener(s) for the Home. Locks may not be changedl
modified or added without the written permission of Owner. if permission is granted, the Resident will promptly furnish
Owner with a key to each lockl without charge to Owner. Any lock modifications made must be restored to their prior
condition before Resident vacates the Home. unless Owner accepts the modification in its sole discretion All keys and
garage door opener(s) must be turned into Owner by the earlier of twenty-four (24) hours after vacating the Home or the
move-out inspection Failure to return any keys or garage door openers, as weil as any request for replacement keys or
garage door openers. will result in a charge as set forth below:

House & Mai|box Keys §19.00
Garage transmitter/remote mpg

PERMlSSiON TO ENTER. Owner, Community Manager. their employees agents and/or contractors will have access to
and may enter the Home;

a. in case of emergency;

When Resident has abandoned or surrendered the Home;

in order to ensure the Home is maintained and not in need of repair;

in order to ensure that the Resident's use of the Home is in conformity with the provisions of this Agreement;

To make necessary or requested repairs decorations alterations or improvements or to supply necessary or
requested maintenance or services Resident retains the right to request an appointment for completion of necessary
or requested repairs; however, Resident's report of damage or request for service provides permission to enter at
reasonable hours without prior notice. Resident may be present; however, entry is not conditioned upon such presence
and Resident agrees to hold Owner and Community Manager. their employees agents and contractors harmless for
such entry; or

f. Any other purpose permitted by applicable law.

The permission extended to Owner under this section is in addition to the right of Owner to reenter to show the Home to
prospective residents as set forth above

lNSTALLATlON AUTHOR|TY. The Home is located within exclusive federal jurisdiction of the United States and therefore
under military controi, which includes the installation Commander's inherent authority and obligation to ensure good order
and discipline As such, the installation Commander has the right and power to inspect, search and/or order the inspection
or search of military persons and property on the installation

STORAGE AND PARK|NG. Resident may use the storage and parking areas in the Development at no cost, and only as
Owner directs for the common convenience of ali its residents No personal property may be stored in the Common Areas
except designated storage areas assigned to the Resident Owner reserves the right to discontinue providing these areas
at any time, in which event Resident will immediately remove all goods and vehicles as Owner directs |f, at Resident's
request, Owner's employees move, store or handle any goods or vehicles they do so at Resident's own risk.

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The parking area is to be used only to park automobiles and small trucks (3/4 gross tons or smaller). All other vehicles will
be towed at the vehicle owner's expense Unlicensed vehicles inoperable vehicles trailers of any typel boats, and
permanently stored or parked vehicles are expressly prohibited from the parking areas Further, no more than two vehicles
per Home may be parked in the parking areas without the prior written consent of Owner. The washing or repairing of
vehicles anywhere in the Development is prohibited unless the Owner specifies a designated area.

FlRE HAZARDS. Resident may not keep gasoline, paint or other flammable material in the Development (except as fuel in
motor vehicles), nor do or permit any hazardous act which might cause fire or which may increase the rate of insurance on
the Home or Development Prohibited activities in the Development include the keeping and using of candies and
kerosene lamps Only battery-powered lighting may be used for light if electricity is terminated or interrupted if the Home
becomes uninhabitable by reason of a natural disaster or because of fire not caused by the act or omission of Resident,
Occupants or any person or persons under Resident's controi, the Monthly Rent will be suspended until the Home has
been restored to a habitable condition Owner is not obligated to rebuild or restore the Home and in the event Owner elects
not to rebuild or restore the Home, this Agreement will terminate as of the date the Home became uninhabitable due to fire
or natural disaster

RULES AND REGULAT|ONS. During the Term of this Agreement, the Resident agrees to consult and comply with ali
rules and regulations covering the Development in which the Home is located Resident acknowledges receipt of RRG and
agrees to be bound by any future RRG and any other rules and regulations as adopted or modified by Owner upon
delivery to or availability of the same to Resident Any violation of the RRG or other rules and regulations, as the same
may be changed. will be a breach of this Agreement. Resident acknowledges that he or she is also obligated to comply

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with any laws, rulesl regulations, or policies that may be imposed by the installation or the federal governmentl as may
exist from time to time during the Term.

ENFORCEMENT EXPENSE PAYMENTS, ADD|T|ONAL RENT. Residents agrees to pay any and all administrative
professional and attorneys fees and expenses filing fees for litigation and any other cost and expense (including but not
limited to filing fees and sheriff or constable fees) incurred by 0wner in enforcing the provisions of this Agreement against
Resident for any breach of this Agreement by Resident or for any act or omission by Resident or any person in the
Development because of Resident. All such costs and expenses will be paid as Additional Rent. Resident's obligation to
pay such fees expenses and/or costs continues regardless of initiation or conclusion of any legal proceedings

MOVE-OUT. Upon vacating the Home, Resident will: (i) remove all interior decorations made by Resident, (ii) restore the
Home to its condition at the time of move-in except for ordinary wear and tear, and (iii) insure that the Home is clean and
free of all personal property and trash.

TERM|NAT|ON.

a. When either Resident or Resident's spouse is a Department of Defense federal employee who supports members of
the Armed Forces of the United States, is a member of the National Guard serving on full-time duty or is a Civil Service
employee with a National Guard unit, this Agreement may be terminated by Resident without payment of any penalty.
liquidated damages or rent that would have otherwise been due for any period following the approved termination
date, provided the Resident or Resident's spouse:

i. Has received permanent reassignment to another Department of Defense installation in excess of 50 miles from
the installation; or
ii. Discontinues employment with the Department of Defense

lf Resident seeks early termination of this Agreement pursuant to the provisions of this section Resident must deliver
to Community Manager written notice stating the grounds for early termination together with appropriate
documentation supporting the grounds for early termination The notice must also state an effective date for the
termination which may not be less than thirty (30) days after the date of Community Manager's receipt of the notice,
except when an earlier termination date is necessary to comply with permanent reassignment orders or termination of
employment The final month's Monthly Rent owed hereunder will be prorated based on the number of days in the
calendar month in which the early termination occurs Such prorated rent will be payable at such time as would have
othenivise been required by the terms of this Agreement.

b. For early termination not described above provided Resident is not in default under this Agreement at the time of
giving noticel Resident may terminate this Agreement early by:
i. Delivering to Community Manager sixty (60) days written notice of Resident's intent to terminate;
ii. Paying all Monthly Rent and any Additional Rent due through the requested date of termination
iii. Paying an amount equal to the Monthly Rent and any owed Additional Rent as liquidated damages and
iv. Paying an amount equal to the Security Deposit held by Owner as an early termination fee. f

The foregoing amounts are all due and payable at the time the early termination notice is delivered to Community
Manager.

TERM|NAT|ON FOR BREACH OF AGREEMENT. All covenants and provisions of this Agreement are material and
independent Should the Resident, Occupants guests or anyone on or about the Development because of Resident at any
time breach any of the covenants agreements undertakings and/or provisions of this Agreement, or should the Resident,
Occupants guests or anyone on or about the Development because of Resident, engage in conduct that is unreasonable
annoying, objectionable or improper or interferes with the rights comfort, quiet and convenience of other residents or the
property rights of the Owner or any person lawfully in the Development, or any other breach of this Agreement, then the
Owner will have the right to terminate this Agreement by giving the Resident a written notice demanding that Resident
vacate the Home. The notice will be delivered to the Resident personally, by registered or certified mail (return receipt
requested) or by leaving it at the Home. if after delivery of said notice, Resident fails to vacate the Home on the date
specified Owner will then be entitled without any further notice to Resident, to exercise the summary remedy provided by
Applicable Law against Resident as a Resident holding over.

lf Resident fails to pay the Monthly Rent when due, Owner may, without notice to Resident, institute any appropriate court
action for any or all of the following: (i) repossession of the Home; (ii) all Monthly Rent then due; and (iii) all other damages
sustained by Owner. ln the event the Resident's right to occupy the Home is terminated by court action or if Resident
vacates the Home voluntarily. Owner may re-enter and re-let the Home for such rent and upon such terms as the Owner,
in its sole discretion believes reasonable Resident will remain liable for any deficiency in Monthly Rent or for any other
amounts due to Owner pursuant to this Agreement, including, but not limited to, court costs and attorney(s) fees all other
costs directly or indirectly incurred by the Owner in re-letting the Home, and any other damages sustained by Owner
because of the Resident's use. occupancy and vacation of the Home. After totaling all said amounts through the end of the

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Term, the rent paid by the replacement resident(s) will be credited to said total amount Resident will then pay to the
Owner any remaining balance after application of the aforesaid credit

END OF TERM; RENEWAL. At least sixty (60) days prior to the end of the Term, Community Manager will inform
Resident of the various renewal options (if any). A|ternatively, if Resident does not want to extend or renew the Term.
Resident will provide at least sixty (60) days prior written notice before the end of the Term to Community Manager of
Resident's intent to vacate the Home. lf Resident and Community Manager agree on an option for another term, a new
Agreement will be executed by Resident and Community Manager to reflect the option selected if Community Manager
fails to notify Resident of renewal options or if the Resident and Community Manager do not agree on a renewal option
this Agreement will automatically renew on a month-to-month basis at an additional month-to-month fee to be determined
by Owner, during which time Resident may terminate at any time by providing at least sixty (60) days' prior written notice to
vacate. By initiating here, Resident acknowledges that he/she has specifically reviewed and approved this automatic
renewal provision

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NOT|CES. All notices required by this Agreement will be sent to Owner in care of the Community Manager and to Resident
at the Home, unless either sends to the other. by registered or codified mail. return receipt requested notice of another
address for notices. Willfu| refusal to accept a notice provided for by this Agreement will be a breach of this Agreement.

R|GHT TO RELOCATE RES|DENTS. Owner reserves the right to relocate Resident due to: (a) scheduled/planned
construction and renovation projects or (b) dissatisfactory habitabiiity conditions Owner will give Resident reasonable
written notice of its decision to relocate the Resident (the "Relocation Notice"). Within fifteen (15) days of the date of the
Reiocation Notice, Resident must inform Owner in writing whether he or she accepts the relocation or if Resident elects to
terminate this Agreement. in the event Resident accepts the relocation Owner wi|i, in its sole discretion either directly pay
for, or reimburse Resident for, all reasonable costs directly associated with the physical move to a new horne within the
Owner's housing area on the installation as well as the reasonable costs of recx)nnection of cable, telephone. and other
utilities Notwithstanding the forgoing. relocations directed by Owner due to dissatisfactory habitabiiity conditions caused
by Resident, Occupants or guests will be at Resident's sole cost. in such event, Resident will also be responsible for the
cost of remedying any such conditions. in the case of any relocation or termination of this Agreement pursuant to this
paragraph, Resident will be responsible for the pro-rated Rent due for all days that the Home is not fully vacated of all
persons and personal property

SUBORD|NAT|ON. This Agreement is subject and subordinate to all security interests which may now or hereafter affect
the Development and Home and to all renewals modifications consolidations replacements and extensions thereof in
confirmation of such subordination and, also, for the purpose of making this Agreement subordinate to such security
interest. Resident hereby irrevocably constitutes and appoints Owner as Resident's attorney-in-fact coupled with an
interest to execute any such certificate or certificates for Resident and on Resident's beha|f.

WA|VER OF BREACH, NCT GENERAL WA|VER. No waiver of any breach of the covenants provisions or conditions of
this Agreement will be construed as a waiver of any subsequent breach andl if any breach occurs and afterwards be
compromised settled or adjusted, this Agreement will continue in full force and effect as if no breach, compromise,
settlement or adjustment had occurred. Receipt by Owner of any sums due under this Agreement with knowledge of the
breach of any covenant or condition hereof will not be deemed in any manner a waiver of such breach. Owner's failure to
insist upon a strict performance of any covenant condition right or option will not be considered a waiver of any right of
Owner and, upon any future breach of any covenant or condition herein contained, all past breaches will be expressly
revived and will constitute grounds for termination of this Agreement as provided herein,

REPRESENTAT|ONS, B|NDING, TlME. Resident agrees that Owner has relied upon the representations made by
Resident iri his or her application and in the event that any such representations are found to be misleading, incorrect or
untrue, Owner will have the right to cancel this Agreement, recover the Home and recover any and all damages lost rents
expenses including attorney's fees and court costs incurred as a result of thereof. This Agreement represents the
complete agreement between Resident and Owner and supersedes all prior agreements and representation except
Resident's representations set forth in the Resident's application No subsequent alterations amendment change or
addition to this Agreement will be binding upon Owner or Resident unless reduced to writing and signed by the parties.

This Agreement and ali its terms covenants and conditions will be binding upon the assigns personal representatives and
heirs of the Resident and Owner. Time is of the essence under this Agreement.

. CAPT|ONS, HEAD|NGS AND CONTEXT. The captions and headings throughout this Agreement are for convenience and

reference only and will not affect the interpretations meaning, scope or intent of this Agreement. Where the context
requires the singular will be substituted for the plural and vice versa and words in the masculine will be substituted for any

gender

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Potomac Place

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SEPARAB|L|TY. if any covenant provision or portion of this Agreement as applied to any person or circumstances wi|i, to
any extent be invalid or unenforceable the remainder of this Agreement or the application of such covenant provision or
portion to persons or circumstances other than those as to which it is held invalid or unenforceable will not be affected

RECE|PTS.

Resident acknowledges receipt of:

i. if the Home was built before 1978, the booklet published by the United States Environmentai Protection Agency
"Protect Your Family From Lead in Your Home" and a Lead Based Paint Disclosure form. Resident agrees that he or
she has received these forms, which are incorporated herein by reference

ii. Owner's current materials concerning mold and mold prevention
iii. The RRG. the provisions of which are incorporated into this Agreement by reference

PER|METER SO|L: The Resident acknowledges that chiordane and other pesticides may be present around the perimeter
of the foundations of the Home, from the edge of the foundation to just beyond the drip-line of the roof of each building.
The Resident, guests and all occupants agree not to disturb the soil in this area.

MOLD: The Resident acknowledges that to avoid mold growth it is important to prevent excessive moisture buiidup and
agrees to remove visible moisture accumulation as soon as it occurs and immediately report to Owner any evidence of
excess moisture or mold or mildew inside the Home. Resident acknowledges receipt of the "Mold information and
Prevention Addendum", which is incorporated herein by reference

EXCULPAT|ON OF OWNER. Owner will not be liable to Resident or to Occupants family members agents
representatives guests or employees of Resident for, and Resident expressly releases and discharges Owner from, all
injuryl loss damage or liability not arising from any omission fau|t, negligence or other misconduct of the Owner. it
representatives agents and employees on or about the Home or any elevators hallways Common Areas or other
appurtenances used in connection therewith |n addition Resident agrees to indemnify and hold harmless Owner from and
against all liabilities obligations damages costsl charges and expenses (including attorney's fees) which may be imposed
upon or incurred by Owner as a result of a claim against Owner with respect to any of the matters and made by an
persons referred to in the preceding sentence

Resident acknowledges that the Home is located on an active military installation under federal jurisdiction Resident
acknowledges and understands that the installation is subject to federall including military. law enforcement and security
measures including, without limitation restrictions on access to the installation and searches and seizures of vehicles
dwellings and other property. Resident understands that Resident is solely responsible for complying with any vehicle
registration and other requirements that may be imposed or desirable in connection with obtaining access to the
installation Resident further understands that he or she and other authorized occupants of the Home may be required to
comply with such regulations and requirements as military authorities at the installation may impose Owner will not be
liable to Resident or to family members Occupants agents or guests of Resident and Resident expressly releases and
discharges Owner from, ali injury, loss damage or liability not arising from any omission fault negligence or other
misconduct of Owner. its representatives agent or employees in connection with any restriction limitation or
inconvenience in any way related to or arising from the installations status and operation as a military installation
including, without limitation restrictions on access to the installation law enforcement and security operations and other
sovereign or proprietary acts or omissions of the United States government and any of its instrumentalities |n addition,
Resident agrees to indemnify and hold harmless Owner from and against all liabilities obligations damages costs
charges and expenses (including attorney's fees) which may be imposed upon or incurred by Owner as a result of a claim
against Owner with respect to any of the matters and made by an persons referred to in the preceding sentence

ACKNOWLEDGEMENT AND RELEASE WlTH RESPECT TO NO|SE. Resident acknowledges that the Home is located
on an active military installation where military training exercises are conducted and that such training exercises may emit
very loud noise from time to time, which may exceed recommended residential noise limits and interfere with Resident's
quiet enjoyment of the Home. RES|DENT HEREBY WA|VES AND RELEASES ANY CLAlMS, ACT|ONS, SU|TS, AND
CAUSES OF ACT|ON AGA|NST OWNER, COMMUN|TY MANAGER, THE|R AGENTS, MEMBERS, OFF|CERS,
EMPLO¥EES, ASS|GNS, SUCCESSORS. PARENTS AND AFF|L|ATES AR|S|NG OUT OF OR RELAT|NG TO NO|SE
EMlTTED FROM M|LlTARY OPERAT|ONS OR TRAlNlNG EXERC|SES CONDUCTED AT THE lNSTALLATlON.

RES|DENT ACKNOWLEDGES THAT HE OR SHE HAS READ TH|S AGREEMENT. OR HAS HAD EACH PARAGRAPH
OF TH|S AGREEMENT EXPLA|NED TO HIM OR HER BY A COMPETENT PERSON OTHER THAN OWNER OR
COMMUN|TV MANAGER, AND FURTHER ACKNOWLEDGES THAT ANY FAiLURE BY RES|DENT TO iNiTiAL ANY
PARAGRAPH WlTH A BOX FOR SUCH PURPOSE DOES NOT CONSTITUTE AN EXCEPT|ON TO SUCH
PARAGRAPH FROM THE COVENANTS TO WH|CH RES|DENT AGREES.

 

 

 

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Potomac Place

iN WiTNESS WHEREOF, the parties have attached their hands and seals on the day and year first above written

(3‘ _ Signed by Carleen Calypso ' Signed by Connie Conwell
,/ rim npr 5 02;39.»43 PM am 2013 ¢ \Thu Apr s 02;45;43 PM sb'r 2013
Key: CSE8E833; IP Addfess: 96.70.161.]_06 ' Key: 13793861\; IP AddreSS: 96.70.161.105

 

Carieen Caiypso (Resi'dent) Date Connie Conweii (Authon’zed Signatory of Property Manager, the Date

authorized agent of Meade Communities, LLC)

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